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                                                                         Enclosure 2
           Test Procedures, Methods, and Reporting Requirements for Coke Oven Facilities

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Introduction

         This document explains the required testing, approved sampling and analysis methods, target pollutant
units of measure, and reporting requirements for coke oven facilities who are required to provide emission test
data under EPA’s authority under the Clean Air Act (CAA) section 114 (42 U.S.C. 7414). See Enclosure 3 of
this test request for details about this authority. The purpose for this testing is to gather data on air pollutant
emissions from coke oven facilities in this source category to inform the EPA’s risk and technology review
(RTR) for these sources.

        The following is the schedule for submitting responses to both Enclosure 1 and Enclosure 2, and
submittal of other relevant information. Although only a subset of the coke oven facilities will be performing
new testing requested and described here in Enclosure 2, all operating by-product (ByP) facilities and selected
heat and nonrecovery (HNR) facilities will receive the accompanying section 114 information collection request
letter and must complete the questionnaire in Enclosure 1.

                                Schedule for Submissions – Enclosures 1 and 2a,b
                                 Itema                                               Submit by Dateb                Daysb
Submit detailed explanation of stack testing problems                      35 days                                    35
(Enclosure 2)
Fugitive (monitoring plan, test plan, & QAPP) (Enclosure 2)                45 days                                    45
Submit schedule(s) for stack testing (Enclosure 2)                         12 weeks                                   85
Begin fugitive monitoring (Enclosure 2)                                    Within 40 days of the date EPA
                                                                           approves the monitoring plan
Submit Enclosure 1 responses                                               9 weeks plus two days                      65
Notify your state of upcoming stack tests (copy to Dr. Jones)              21 days before testing                     --
First 3 months of fugitive monitoring data (Enclosure 2)                   Within 140 days of the date EPA
                                                                                                                      --
                                                                           approves the monitoring plan
Submit stack test reports & data spreadsheets (Enclosure 2)                22 weeks                                  154
Second 3 months of fugitive monitoring data                                Within 230 days of the date EPA
                                                                                                                      --
                                                                           approves the monitoring plan
a
  All submissions should be done electronically or on electronic media (file, CD, DVD, or flash drive/USB) by: (1) email
non-confidential files (< 10MB) to the Coke 2022 section 114 email address maintained by RTI (Coke.ICR2@rti.org). If
assistance is needed with submitting large electronic files that exceed the file size limit for email attachments, please
email Coke.ICR2@rti.org to request a file transfer link or (2) mail non-confidential files on CD/DVDs or flash drive/USB
via private courier or U.S. post office to Dr. Donna Lee Jones, at the U.S. EPA Office of Air Quality Planning and
Standards in RTP, NC., at the addresses listed below in Section 3 of this enclosure. See also detailed instructions in
Section 3 regarding instructions for submitting CBI.
b
  From date of EPA email with Coke Oven section 114 information request package.

        If your facility has units that are required to be tested according to this enclosure but you are unable to
respond to an item exactly as requested, please explain why you cannot respond and/or provide any information
you believe may be related and send this explanation by email to Dr. Donna Lee Jones at
Jones.DonnaLee@epa.gov within 35 days of EPA email with the section 114 package. For example, if you
have a special or unique type of emission process unit and the questions or testing requirements in the section
related to that emission process unit are not relevant to your specific unit, please provide information that would
help EPA understand and classify your emission process unit.


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        Note: EPA reserves all of its enforcement rights provided by the CAA section 113, including the right to
bring a claim in the U.S. District Court to enforce the CAA section 114 obligation to comply with all the
requests described in Enclosure 1 and Enclosure 2.

1.0 Test Pollutants and Parameters, Methods, and Procedures

        This section includes a summary of emission process units that require testing and the pollutants
requested for each process, as well as detailed description of testing which includes among other items, required
test locations, test methods, units of measure, and the minimum required number of test runs. Discussion is also
included on tests that should be done concurrently.

       The tables in this section show the various information required to be tested. The sources, pollutants and
methods required are described in Tables 1.A and 1.B. All data and process information requested in Tables 2
through 9 must be entered into the appropriate worksheets in the appropriate files: Coke-Enclosure-2-Emission
Test Data Answer File.xlsx; Coke-Enclosure-2-Door-Leaks.xlsx; and Enclosure-2_Coke
114_fugitive_monitoring.xlsx provided with this CAA section 114 request. The Excel® files contain individual
blank worksheets to be used to enter the test data for emission tests that are not reported using the EPA’s
Electronic Reporting Tool (ERT) Version 6 and for fenceline/interior monitoring data.

        This information collection request includes test data requests for particulate matter (PM) including
filterable PM (PM filterable); hazardous air pollutants (HAP) that are metal compounds; hydrogen chloride
(HCl), hydrogen fluoride (HF), and hydrogen cyanide (HCN); sulfur dioxide (SO2); carbon monoxide (CO);
carbon dioxide (CO2), speciated volatile HAP (VOHAP) of benzene, toluene, ethylbenzene, xylene (BTEX),
and also formaldehyde; semi-volatile HAP, such as polycyclic aromatic hydrocarbons (PAHs), including
naphthalene and dioxin/furans; air flow rate/velocity and the related parameters of O2/CO2 and moisture; and
opacity and/or visible emissions. The testing required of coke manufacturing facilities is intended to provide
information regarding the pollutants, emissions, and emissions parameters, as discussed in this enclosure.

       The following is a list of pollutants and parameters to be tested with their CAS Numbers (No.),1 as
available, and their acronyms, as applicable. Appendix A lists all of the HAP and their CAS No., as designated.
(Note: Not all pollutants will have a CAS No., e.g., opacity). Appendix A also lists some common
abbreviations and acronyms, and some unit conversions that may be useful.

    Individual Air Pollutants/Parameters (and CAS No., where available)
       Carbon dioxide (CO2) (124-38-9)
       Carbon disulfide (CS2) (75-15-0)
       Carbon monoxide (CO) (630-08-0)
       Carbonyl sulfide (COS) (463-58-1)
       Hydrogen chloride (HCl) (7647-01-0)
       Hydrogen cyanide (HCN) (74-90-8)
       Hydrogen fluoride (HF) (7664-39-3)
       Hydrogen sulfide (H2S) (7783-06-4)
       Oxides of nitrogen (NOx) (11104-93-1)

1
 CAS number databases are available on various websites. See http://www.commonchemistry.org/ as one example. See
https://www.cas.org/content/chemical-substances/faqs for information about CAS numbers.


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       Opacity
       Oxygen (O2) (7782-44-7)
       Particulate matter (PM), filterable
       Sulfur dioxide (SO2) (7446-09-5)
       Visible emissions (VE, leaks)

    HAP Metals (and CAS No.’s)
      Antimony (7440-36-0)
      Arsenic (7440-38-2)
      Beryllium (7440-41-7)
      Cadmium (7440-43-9)
      Chromium, total (7440-47-3)
      Cobalt (7440-48-4)
      Lead (7439-92-1)
      Manganese (7439-96-5)
      Mercury (7439-97-6)
      Nickel (7440-02-0)
      Selenium (7782-49-2)

    Semi-volatile HAP (Polycyclic Aromatic Hydrocarbons (PAH)) and CAS No. 2
       Acenaphthene (83-32-9)
       Acenaphthylene (208-96-8)
       Anthracene (120-12-7)
       Benz[a]anthracene (56-55-3)
       Benzo[a]pyrene (50-32-8)
       Benzo[b]fluoranthene (205-99-2)
       Benzo[g,h,i]perylene (191-24-2)
       Benzo[k]fluoranthene (207-08-9)
       Chrysene (218-01-9)
       Dibenz[a,h]anthracene (53-70-3)
       Fluoranthene (206-44-0)
       Fluorene (86-73-7)
       Indeno (1,2,3-cd) pyrene (193-39-5)
       Naphthalene (91-20-3)
       Phenanthrene (85-01-8)
       Perylene (198-55-0)
       Pyrene (129-00-0)

    Dioxins/Furans (D/F) as 2,3,7,8-TCDD TEQs and CAS No.
       1,2,3,4,6,7,8-Heptachlorodibenzofuran (67562-39-4)
       1,2,3,4,6,7,8-Heptachlorodibenzo-p-Dioxin (35822-46-9)
       1,2,3,4,7,8,9-Heptachlorodibenzofuran (55673-89-7)
       1,2,3,4,7,8-Hexachlorodibenzofuran (70648-26-9)

2
  See Table 1 and Table 1-1 of EPA Methods TO-13A and 15A, respectively, for PAH and VOC analytes addressed by
these methods. See https://www.epa.gov/amtic/compendium-methods-determination-toxic-organic-compounds-ambient-
air (Also listed in this enclosure as Appendix B).


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       1,2,3,4,7,8-Hexachlorodibenzo-p-Dioxin (39227-28-6)
       1,2,3,6,7,8-Hexachlorodibenzofuran (57117-44-9)
       1,2,3,6,7,8-Hexachlorodibenzo-p-Dioxin (57653-85-7)
       1,2,3,7,8,9-Hexachlorodibenzofuran (72918-21-9)
       1,2,3,7,8,9-Hexachlorodibenzo-p-Dioxin (19408-74-3)
       2,3,4,6,7,8-Hexachlorodibenzofuran (60851-34-5)
       Octachlorodibenzo-p-Dioxin (3268-87-9)
       1,2,3,7,8-Pentachlorodibenzofuran (57117-41-6)
       1,2,3,7,8-Pentachlorodibenzo-p-Dioxin (40321-76-4)
       2,3,4,7,8-Pentachlorodibenzofuran (57117-31-4)
       2,3,7,8-Tetrachlorodibenzofuran (51207-31-9)
       2,3,7,8-Tetrachlorodibenzo-p-Dioxin (1746-01-6)
       Octachlorodibenzofuran (39001-02-0)

   Speciated Volatile Organic HAP (VOHAP) from Stack Sampling2
      1,3-butadiene (106-99-0)
      Benzene (71-43-2)
      Ethylbenzene* (100-41-4)
      Formaldehyde (50-00-0)
      Toluene (108-88-3)
      Xylenes* (1330-20-7)
      Benzene, ethylbenzene, toluene, xylenes (BTEX)
           *
               Boiling point of this compound is above 120˚C

Emission/Process Units

         The following is a list of the emission process units required to be tested at ByP and HNR coke oven
facilities, as applicable.

       HNR heat recovery steam generator (HRSG) main stacks
       HNR bypass/waste heat stacks
       ByP battery coke oven doors
       Fenceline and interior facility fugitives (ByP and HNR)
       Coke by-product recovery plants (CBRP): cooling towers, condenser vents, sulfur recovery units

        Table 1-A shows the pollutants to be tested and is organized by each emissions point. Details of the
testing are described in Table 1-B. All tests should be performed while the emission unit (and control device,
where applicable) are operating under “typical” operating conditions. Typical operating conditions in the
context of this testing request mean the usual, average, or most common operating conditions for the process
unit for the past year. For example, if a coke oven unit has been operating in the extended coking mode for at
least six months, is currently operating in extended coking, and there are no firm plans to convert this unit back
to “normal coking” mode in the short-term in time to achieve steady-state by the time testing for this test
request needs to be done, then “typical” operating conditions for this testing request is extended coking.
Therefore, these units should test under the extended coking operating mode.




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1.1 How to Select Sample Locations and Analysis Methods

       The units selected for testing should be representative of current operation. All tests should be
performed while the emission unit (and control device, where applicable) are operating under typical operating
conditions.

        If you would like to use a method not included here, please contact the EPA for approval of an
alternative test method using the contacts listed in Section 4.0. The request for an alternative test method should
include the alternative test method or prescriptive alternative procedure, the reason for the request (e.g., lower
detection limit, site specific matrix interference, increased precision, etc.), supporting empirical data (e.g.,
comparison with specified method, precision determination, etc.), and quality control procedures which ensure
results are sufficiently accurate and precise. See the Emission Measurement Center’s Guideline Document 22
(http://www.epa.gov/ttn/emc/guidlnd/gd22.pdf) for more information on what information should be included
in an alternative test method request. For copies of the EPA test methods and additional information, please
refer to the EPA’s Emission Measurement Center website: http://www.epa.gov/ttn/emc/ . For methods
identified as SW846 methods, see: http://www3.epa.gov/epawaste/hazard/testmethods/sw846/online/.

1.2 Required Source Testing and Process Information

        Table 1-B below presents details of the required test methods, minimum number of test runs required,
minimum test run duration, and units of measure. Section 1.3 (Table 2) shows the process information required
to be recorded during testing. Section 1.4 (Tables 3 and 4) describes the coke oven fuel gas tests and requested
process, coke, and fuel gas information. Section 1.5 (Table 5) lists the stack and other emissions release point
parameters needed for this test request. Section 1.6 (Table 6) describes the procedures to be used to observe
door leaks using EPA Method 303 from both the bench and the yard. Section 1.7 (Table 7) discusses fugitive
air emission testing procedures and methods for fenceline/interior monitoring for the selected facilities. Section
1.8 discusses how to ensure data quality of the source tests performed. Note: If the EPA believes that a facility
owner or tester has failed to meet the requirement of the CAA to provide data of the quality or quantity
sufficient for our decisions, we likely will request additional measurements that will require the use of improved
testing procedures.




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    Table 1-A: Summary of Required Emission Testing for Coke Oven Plants - by Emission Process Unit
        Emission Process Unit                                   Pollutant(s)/Parameters to Test3
                                                 Coke ByP Process Only
Door Leaks, Bench and Yard                 Visible emissions (leaks)
                                         Coke ByP Recovery Plant (CBRP) Only
Cooling Tower Inlet                        BTEX, TO-15A analytes2, H2S, COS, CS2
Light Oil Condenser (if venting to         BTEX, H2S, COS, CS2
atmosphere)
Sulfur Recovery/Desulfurization  SO2, H2S, COS, CS2
CBRP Flares                      Visible emissions, gas composition (proximate/ultimate analysis), flow rate,
Emergency Battery Flare          and heat content
                             Heat and Non-Recovery Process (HNR) Only
HNR Main Stack (after HRSG+CD)   Filterable PM & HAP metals, CO2, CO, NOx, formaldehyde, HCl, HF, HCN,
                                 PAH, D/F, opacity (stack), SO2, BTEX
HNR Bypass Stacks                          Filterable PM & HAP metals, CO2, CO, NOx, formaldehyde, HCl, HF, HCN,
HNR Waste Heat Stacks                      PAHs, D/F, opacity (stack), SO2, BTEX
                       Fugitive Emission Testing at Facility Fenceline//Interior Facility Grounds
Fugitive emissions at the fenceline,     1,3 Butadiene, BTEX, PAHs, volatile organic compounds (VOC) (Table 1,
and at interior facility locations near: EPA Method TO-13A2 for PAHs and Table 1-1, EPA Method TO-15A2 for
(1) coke oven batteries and (2) CBRP VOC; see Appendix B)




3
    Tests are from air samples, unless otherwise noted.


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                         Table 1-B: Summary of Required Test Methods for Coke Oven Air Pollution Sources, by Pollutant
          Pollutant or                                                                                        Minimum (no.) of Test Runs7 and              Units of
                                  Emissions Process Unit                    Required Methods5
          Parameter4                                                                                                    Duration                           Measure
      Filterable PM & HAP    HRSG Main stacks                       EPA Method 296-Determine total            Perform at least seven (7) test runs.7     mg/dscm
      Metals                 HNR Bypass/waste heat stacks           filterable PM emissions according to                                                 mg/dscm @ 7%
                                                                                                              Collect a minimum sample volume of
      HAP Metals:                                                   §8.3.1.1 with a filter temperature of     105 dscf (3 dscm) of gas for each test     O2
      Antimony, Arsenic,                                            248°F +/- 25°F. Alternatively, use        run.                                       lb/hr
      Beryllium, Cadmium,                                           Method 5 at this same temperature for
      Chromium, Cobalt,                                             total filterable PM.
      Lead, Manganese,                                              --Use inductively coupled (argon)
      Mercury (Particulate                                          plasma with mass spectrometry (IC
      and Vapor Phase),                                             (A) P/MS) for HAP metals in
      Nickel, Selenium                                              Method 29. Analyze front and back
      (air)                                                         half samples separately. Report results
                                                                    for front half and back half analyses
                                                                    for individual metals separately. For
                                                                    mercury, report each individual
                                                                    fraction separately.

      Sulfur Dioxide (SO2)   HRSG Main stacks                       EPA Method 6C, 6, or CEMS data,           Perform at least three (3) test runs.      ppmvd
                             HNR Bypass/waste heat stacks           where applicable.                         Sample time should ensure that             ppmvd @ 7%
                             CBRP Sulfur recovery/                  Note: If permanently installed CEMS       minimum quantification levels have         O2
                             desulfurization non-flare combustion   are used, the CEMS must be certified      been met under the methods used.
                                                                    according to Performance                  Where permanently installed CEMs are       lb/hr
                             units                                  Specification (PS) 2 and General          used, the test run average is calculated
                                                                    Provisions Procedure 1 (40 CFR Part       as the average of the one-minute
                                                                    60, Appendix F 8)                         averages collected over the duration of
                                                                    Temporary CEMS must meet the              the test run. The one-minute averages
                                                                    method criteria contained within          must be included in the test report.
                                                                    Method 6C.


4
  See Section 1.0 above for individual pollutants within each group of pollutants in this table.
5
  Most of the methods in this table can be found in in 40 CFR Part 60, Appendix A, unless otherwise noted. See https://www3.epa.gov/ttn/emc/promgate.html.
6
  Tester should monitor the color of the KMnO4 impingers (hourly); if loss of color is observed in either impinger, recover the KMnO4 impingers following the
procedures found in Section 8.2.9 of EPA Method 29 and replace the impingers with fresh KMnO4 absorbing solution.
7
  Unless otherwise indicated, the EPA is requesting seven (7) “successful” test runs, where successful is defined to be a test that meets all of the requirements of a
valid test as per the EPA method or approved alternative method.
8
  See EPA’s web site for a copy of the Performance Specifications (PS) and General Procedures at http://www3.epa.gov/ttn/emc/perfspec.html.


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            Pollutant or                                                                                     Minimum (no.) of Test Runs7 and            Units of
                                    Emissions Process Unit                  Required Methods5
            Parameter4                                                                                                 Duration                         Measure
        Carbon Monoxide        HRSG Main Stacks                      EPA Method 10 or CEMS data, where      Perform at least three (3) full runs.     ppmvd
        (CO)                   HNR Bypass/waste heat stacks          applicable                                                                       ppmvd @ 7%
                                                                     Note: If CEMS are used, the CEMS     Where permanently installed CEMs are        O2
                                                                     must be certified according to PS 4, used, the test run average is calculated    lb/hr
                                                                     4A, or 4B and General Provisions     as the average of the one-minute
                                                                     Procedure 1 (40 CFR Part 60,         averages collected over the duration of
                                                                     Appendix F.8)                        the test run. The one-minute averages
                                                                                                          must be included in the test report.
        Oxides of Nitrogen     HRSG Main Stacks                      EPA Method 7E or CEMS data, where Perform at least three (3) full runs.          ppmvd
        (NOx)                  HNR Bypass/waste heat stacks          applicable                                                                       ppmvd @ 7%
                                                                     Note: If CEMS are used, the CEMS     Where permanently installed CEMs are        O2
                                                                     must be certified according to PS 2, used, the test run average is calculated    lb/hr
                                                                     and General Provisions Procedure 1   as the average of the one-minute
                                                                                                    8
                                                                     (40 CFR Part 60, Appendix F. )       averages collected over the duration of
                                                                                                          the test run. The one-minute averages
                                                                     OR                                   must be included in the test report.

                                                                     EPA Method 320
        Speciated Volatile     HRSG Main stacks                      EPA Method 18 for BTEX                 Perform at least seven (7) test runs.7    As each
        Organic HAP            HNR Bypass/waste heat stacks                                                                                           individual
        (VOHAP), as                                                                                                                                   compound:
        Benzene, Ethyl         CBRP Light Oil Condensers9            OR                                     The in-stack detection limit (DL) using
                                                                                                            Method 18 must be no greater than 0.5     mg/dscm
        Benzene, Toluene,
        Xylene (BTEX),                                                                                      ppmvd.                                    mg/dscm @ 7%
                                                                     Gas Chromatographic CEMS meeting                                                 O2 (for HRSG
        speciated                                                    the requirements of Performance                                                  Main and HNR
                                                                     Specification 910 with Relative                                                  Bypass/waste
                                                                     Accuracy Test Audit performed using                                              heat stacks)
                                                                     Method 18 (stack, only for BTEX)
                                                                                                                                                      lb/hr
        Formaldehyde           HRSG Main stacks                      EPA Method 320 for formaldehyde        Perform at least seven (7) test runs7.    mg/dscm
                               HNR Bypass/waste heat stacks                                                                                           mg/dscm @ 7%
                                                                                                                                                      O2
                                                                                                                                                      lb/hr



9
    Only if the light oil condenser vents to the atmosphere. Document in the test report if the light oil condenser does not vent to atmosphere.
10
    Available at http://www3.epa.gov/ttn/emc/perfspec/ps-9.pdf.


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         Pollutant or                                                                                   Minimum (no.) of Test Runs7 and               Units of
                                 Emissions Process Unit                  Required Methods5
         Parameter4                                                                                               Duration                            Measure
      VOHAP and THC         CBRP Cooling Tower Inlets            Texas Commission on Environmental      Perform at least seven (7) test runs of   ppmvd
                                                                 Quality (TCEQ) Appendix P and          standard Appendix P, and three (3) test
                                                                 Texas Commission on Environmental      runs of the Appendix P with the TO-
                                                                 Quality (TCEQ) Appendix P modified     15A finish.
                                                                 to incorporate a EPA Method TO-15A     Collect a minimum sample time of one
                                                                 finish11 for the VOC analyte list in   (1) hour.
                                                                 Table 1-1 of EPA Method TO-15A
                                                                 (See Appendix B)

      Hydrogen Sulfide      CBRP Light oil condensers9           EPA Method 15                          Perform at least seven (7) test runs        ppmvd
      (H2S), Carbonyl       CBRP Cooling tower inlets                                                   except for the Cooling tower inlets.        ppmvd @ 7%
      Sulfide (COS), and                                                                                                                            O2 (for
      Carbon Disulfide      CBRP Sulfur recovery/desulfurization For the cooling tower inlet, TCEQ
      (CS2)                 non-flare combustion units           Appendix P modified to incorporate a   Perform at least three (3) test runs on the combustion
                                                                 Method 15 finish (ppmvd only)          Cooling tower inlets                        units and light
                                                                                                                                                    oil condensers
                                                                                                                                                    only)
                                                                                                                                                    lb/hr (for
                                                                                                                                                    combustion
                                                                                                                                                    units and light
                                                                                                                                                    oil condensers
                                                                                                                                                    only)
      Hydrogen Chloride     HRSG Main stacks                     EPA Method 26A                         Perform at least seven (7) test runs.7      mg/dcsm
      (HCl) and Hydrogen    HNR Bypass/waste heat stacks         OR                                     For tests with Method 26A, collect a        mg/dscm @ 7%
      Fluoride (HF)                                                                                     minimum of 35 dscf (1 dscm) per run.        O2
                                                                                                        Both the acidic and the basic impingers lb/hr
                                                                 EPA Method 32012                       must be analyzed for fluoride.
      Hydrogen Cyanide      HRSG Main stacks                     EPA Method 32012                       Perform at least seven (7) test runs 7    mg/dscm
      (HCN)                 HNR Bypass/waste heat stacks                                                                                          mg/dscm @ 7%
                                                                                                                                                  O2
                                                                                                                                                  lb/hr



11
   “Air Stripping Method (Modified El Paso Method) for Determination of Volatile Organic Compound Emissions from Water Sources.” Revision Number One,
dated January 2003. Sampling Procedures Manual, Appendix P: Cooling Tower Monitoring. January 31, 2003.
http://www.tceq.state.tx.us/assets/public/implementation/air/sip/sipdocs/2002-12-HGB/02046sipapp_ado.pdf
12
   The validation requirements in EPA Method 320 (sections 3.25, and 13.0 through 13.4) MUST be done but may not be practical for all facilities. Therefore, use
of another method is advised when performance of the validation requirements is not practical.


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          Pollutant or                                                                                  Minimum (no.) of Test Runs7 and               Units of
                                 Emissions Process Unit                  Required Methods5
          Parameter4                                                                                              Duration                            Measure
      Semi-volatile Organic HRSG Main stacks                     Other Test Method 46 (OTM 46) for     Perform at least seven (7) test runs. 7     micrograms per
      HAP Compounds         HNR Bypass/waste heat stacks         dioxins/furans and PAH                Collect a minimum sample volume of          dscm (µg/dscm)
      (Semi-vol), including                                                                            140 dscf (or 4 dscm) of gas, during each    µg/dscm @ 7%
      Polycyclic Aromatic                                                                              test run.13                                 O2
      Hydrocarbons (PAHs)
      and Dioxin/furans                                                                                                                            lb/hr
      (see Section 1.0 for                                                                                                                         For
      individual analytes)                                                                                                                         dioxin/furans:
                                                                                                                                                   Report as
                                                                                                                                                   individual
                                                                                                                                                   congeners and
                                                                                                                                                   as individual
                                                                                                                                                   toxic
                                                                                                                                                   equivalents
                                                                                                                                                   (TEQ)
      Opacity (stack)       HRSG Main stacks                     EPA Method 9 or COMS (including       Seven runs concurrent with PM/HAP           Percent (%)
                            HNR Bypass/waste heat stacks         Procedure 3, Appendix F14);           metals tests. Report the maximum 6-
                                                                 otherwise, as able to be used with    minute average result for each run.
                                                                 preference for Method 9, as
                                                                 appropriate: LIDAR (Alternative
                                                                 Method 1 to Method 9 (40 CFR part     Where any test run occurs at night or
                                                                 60, Appendix A-4),                    partial light, the recommended
                                                                                                       procedure is the Digital Opacity Camera
                                                                                                       Method, ALT-082. Alternatively,
                                                                 OR                                    special procedures for Method 9 testing
                                                                                                       at night can be used if observer has been
                                                                                                       trained.
                                                                 EPA ALT-08215 (ASTM D7520-13,
                                                                 Digital Opacity Camera Method)
                                                                 Note: Use 6-minute averages for all
                                                                 sources.




13
   The minimum sample volume of 140 dscf (4 dscm) is required because of the following breakdown of the RDL for Benzo(a)pyrene in air samples assuming a
detection limit of 15 ng (combined total of 3 fractions) and nominal flow rate of 10,000 scfm: 1 dscm sample: 5.59 x 10-7 lbs/hr; 2 dscm sample: 2.79 x 10-7 lbs/hr;
3 dscm sample: 1.87 x 10-7 lbs/hr; and 4 dscm sample: 1.40 x 10-7 lbs/hr.
14
   See http://www3.epa.gov/ttn/emc/perfspec/comspro3.pdf for Procedure 3 in Appendix F (40 CFR, part 60), which has been promulgated for COMS in the time
period since subpart CCCCC was promulgated (2003).
15
   Available at: http://www3.epa.gov/ttn/emc/approalt.html


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         Pollutant or                                                                                    Minimum (no.) of Test Runs7 and            Units of
                                 Emissions Process Unit                  Required Methods5
         Parameter4                                                                                                Duration                         Measure
      Oxygen (O2), Carbon   HRSG Main stacks                      EPA Method 3A or 3B                   Simultaneous with each pollutant test    Volume, %, dry
      Dioxide (CO2)         HNR Bypass/waste heat stacks                                                run to determine air flow rate and       CO2 only:
                                                                                                        oxygen correction (all sources except
                            Each tested unit in Enclosure 2, as                                         CBRP -Cooling Tower Inlet).              g/hr, lb/hr, or
                            needed for flowrate calculations                                                                                     tons/hr




      Moisture              Each tested unit in Enclosure 2, as   EPA Method 4                          Simultaneous with each pollutant test    Volume, %
                            needed for flowrate calculations                                            run to determine air flow.
      Visible Emissions     CBRP Flares                           EPA Method 22                         Three runs, two hour duration            minutes
                            Emergency battery flares16                                                  For battery flares, test flares on two
                                                                                                        batteries
      Flare Gas            CBRP Flares                            Flow Rate EPA Method 1-2          Three runs, one-hour duration                Velocity – fpm
      Composition and flow Emergency battery flares16             Proximate/ultimate analysis ASTM  For battery flares, test flares on two       Flow rate –
      rate17                                                      D1945-14/D1946-90                 batteries                                    acfm, dscfm
                                                                  Heat Content ASTM D4891-13 (2018)                                              Concentration -
                                                                                                                                                 %,
                                                                                                                                                 Heat content –
                                                                                                                                                 BTU/scf




16
  Facilities may activate emergency flares (i.e., open battery vents to flares) for the purposes of these tests.
17
  Flare gas composition and flow rate measurement are only required when access ports on the flare line are available. When flare ports are not available, facility
should document (in writing) with the emission report.


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1.3 Process Information During Testing

       Please monitor, record, and report the following process information listed in Table 2 during all testing,
during each test run.

                        Table 2. Process Information to Record/Monitor During Each Test
                                Process Data to Record, Monitor, and Report for Each Run
         Emission unit(s) ID
         Type of process (HRSG, HNR bypass/waste heat)
         Type of air control device (e.g., baghouse, scrubber, ESP, other)
         Latitude of stack (decimal degrees, 5 decimal places)
         Longitude of stack (decimal degrees, 5 decimal places)
         Date of test
         Battery ID number/name
         Type of coal charged during testing
         Average coking time per oven(s) tested (hours)
         Coke produced during test period (tons)


1.4 Coke Oven Fuel Gas Tests and Process, Coke Gas, and Fuel Gas Information
         Along with testing at the HRSG, you must sample and analyze the coke oven gas as per the methods and
tests in Table 3. Please provide the results of the mercury analyses and other fuel and process information
shown in Table 4. The process information should be on an annual basis using the most recent normal
production year (over 50 percent capacity utilization).

                                               Table 3. Coke Oven Gas Analyses
                                                                                           Sampling and            Units of
     Source        Analyte                    Recommended Method
                                                                                             Analysis              Measure
                Mercury          ASTM D5954-98 (2006), “Standard Test Method            Minimum of three (3)       g/m3
                                 for Mercury Sampling and Measurement in Natural        samples.
                                 Gas by Atomic Absorption Spectroscopy.”18
Coke oven                                                                               At or directly before
                                 Note: The detection limit of the procedure should be   the guillotine isolation
gas                              one (1) ng/m3 or less.                                 damper at HRSG inlet
                BTEX             GPA STD 2286 (2014): Method for the Extended           after connection to        ug/dscm
                                 Analysis of Natural Gas and Similar Gaseous            common tunnel or
                                 Mixtures by Temperature Program Gas                    downstream of the
                                 Chromatograph19                                        HRSG.

18
     Available at http://www.astm.org/Standards/D5954.htm
19
     Available at https://gpamidstream.org/publications/item/?id=3835 or call (918) 493-3872. Price $55 US$.


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                                         Table 4. Process Fuel Gas Information20

                                Information Requested                                                Units

     Rate of coke oven gas generated during tests                                           MMscf/hr
     Rate of coke oven gas burned in coke battery                                           MMscf/hr
     Quantity of coke oven gas burned in power plant                                        MMscf/year
     Quantity of natural gas burned in coke battery                                         MMscf/year
     Higher heating value of coke oven gas                                                  Btu/scf
     Higher heating value of natural gas                                                    Btu/scf
     Quantity of coke oven gas burned in power plant                                        MMscf/hr during tests
     Quantity of coke oven gas burned in coke battery                                       MMscf/hr during tests
     Quantity of natural gas burned in coke battery                                         MMscf/hr during tests
     Quantity of coke oven gas generated (including gas recovered and used in ovens)        MMscf/hr during tests



1.5 Stack and Other Emissions Release Points

        The information in Table 5 shows the parameters required to be submitted as part of this test request for
the stacks and other emission release sources (e.g., fugitives) during the source testing. Please fill out these
tables as appropriate for all stacks and other emission release sources (fugitives) at the facility during the
testing. Add rows as necessary for each stack or other emission release source.

                                            Table 5. Stack and Unit Data
                    Information Requested                                  Description
               Unit or Stack ID#
                                                        All stacks
               Latitude/longitude
                                                        All coke batteries
               (decimal degrees, 5 decimal places)
                                                        HRSG plants
               Indicate if center of unit. For other
                                                        HNR bypass/waste heat stacks
               locations(s), describe.
                                                        Other processes/plants on site (describe)
               Stack Height                             Feet
               Stack Diameter                           Inches, at discharge point
               Stack Gas Temperature                    °F
               Stack Gas Velocity                       Feet per second
                                                        All coke batteries
               Dimensions (LxWxH)                       HRSG plant(s)
                                                        Other processes/plants on site (describe)


20
  Based on the most recent production year with over 50 percent capacity utilization. Note: MMscf = millions of standard
cubic feet; Btu/scf = British thermal units per standard cubic foot.


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1.6 Door Leaks Bench-to-Yard Observation Comparison

        Selected facilities must assess coke oven door leaks according to EPA Method 303 from both the yard
and the bench. Two teams of two observers should be used. Each team should traverse the same side of the
battery simultaneously, one team member at the bench and one at the yard. Team members should then switch
position and re-traverse the battery to complete a set of observations. Please inform the EPA of any facility
specific safety circumstances that may require modification to this methodology before beginning testing. The
presence of any flames at each leak also should be noted in the report.

        Four sets of observations (2 traverses, one for each team on 2 sides) should be performed at three
different batteries. An example is shown in Table 6 below for the first battery “XYZ”. Use a similar scheme
for two more batteries for a total of three batteries tested for bench/yard data. Abbreviations are as
follows: O1 is Observer 1, O2 is Observer 2, etc.

                      Table 6. Example Door Leak Testing Sequence at Battery (XYZ)
                              Battery XYZ – Coke Side                          Battery XYZ – Coal Side
    Traverse No.
                             Bench                     Yard                   Bench               Yard
        1A                   O1, O2                   O3, O4                  O1, O2             O3, O4
        1B                   O3, O4                   O1, O2                  O3, O4             O1, O2
        2A                   O1, O3                   O2, O4                  O1, O3             O2, O4
        2B                   O2, O4                   O1, O3                  O2, O4             O1, O3
        3A                   O1, O2                   O3, O4                  O1, O2             O3, O4
        3B                   O3, O4                   O1, O2                  O3, O4             O1, O2
        4A                   O1, O3                   O2, O4                  O1, O3             O2, O4
        4B                   O2, O4                   O1, O3                  O2, O4             O1, O3
Note: Door leaks should be measured at a total of three batteries.

1.7 Fugitive Emission Testing Procedures and Methods for Fenceline/Interior Monitoring

       Selected facilities are required to perform sampling and analysis according to the methods specified in
Table 7 to determine the facility fugitive emissions at fenceline and interior facility grounds, according to the
procedures described below.

       Use EPA Methods 325A/B to sample for benzene, toluene, ethylbenzene, xylenes, and 1,3 butadiene
along the facility fenceline and interior facility grounds. The number and location of sampling sites is
determined according to the specifications in section 8.2 of EPA Method 325A. You must perform thirteen 14-
day long sampling episodes (24 hours per day) at each monitoring location, for a combined total of 182 days of
sampling with EPA Method 325B.

        In addition, selected facilities must sample fugitive emissions at the fenceline and interior facility
grounds with Compendium Methods TO-13A and TO-15A for VOC and PAHs, respectively, according to the
specifications listed in Table 7 (below). When siting the TO monitors, you must consider the seasonal
prevailing winds so that at least one monitor must be placed at an upwind sampling location. If there is potential
for upwind off-site contribution, you may choose to select additional upwind sampling locations. [Note: TO-

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13A and TO-15A sampling locations are not required to be collocated with an EPA Method 325A/B sampling
location.] You must perform seven 24-hour long samples at each TO monitor location for a total of at least 21
samples (3x7) for TO-13A and at least 28 samples (4x7) of TO-15A.

        For TO-15A, you must sample at a minimum of four monitoring locations at the fenceline including at
least one upwind location, as discussed above. At least one monitor should be downwind of the batteries for
both ByP and HNR. For ByP facilities, at least one of your fenceline sampling locations must be immediately
downwind (based on seasonal prevailing winds) of the CBRP.

        For TO-13A, at least three fenceline locations are required to be tested including at least one upwind
location, as discussed above. At least one of the three fenceline sampling locations should be placed downwind
from the batteries for both ByP and HNR. For ByP facilities, one monitor should be placed downwind from the
tar processing at the CBRP.

        In addition to the fenceline monitoring, you must sample fugitive emissions with TO-13A and 15A at
one or two additional points within the interior facility grounds, depending on the type of facility, as follows:
(1) one monitor at the centroid of the CBRP for ByP facilities, and (2) one monitor at the center of the area in
space next to the coke batteries for both ByP and HNR facilities. You must perform seven 24-hour long samples
at each location where you are required to sample for the TO methods, for a total of 7 or 14 samples (2x7) of
TO-13A for HNR and ByP, respectively; and a total of 7 or 14 samples (2x7) of TO-15A for HNR and ByP,
respectively, at the two interior facility locations (chemical plant for ByP and coke battery(ies) for both HNR
and ByP).

        Each 24-hour long sampling episode with the TO-13A and TO-15A methods must occur on an
approximately bi-weekly basis and within the 2-week period of the EPA Method 325A/B sample. The summa
canister inlets of the TO methods must be located within 1.5 to 3.0 meters above ground using a pole or other
secure structure. The TO method canister sampling flowrate must be maintained nominally at a constant
flowrate during the sample period.

       Selected facilities must deploy a meteorological station (or use an existing available station21) consistent
with the requirements in Section 8.3 of EPA Method 325A of Appendix A of 40 CFR part 63. You must report
the meteorological data, including wind speed, wind direction, temperature, and barometric pressure on an
hourly basis for each sampling episode.




21
  EPA Method 325A, section 8.1.4: Identify the closest available meteorological station. Identify potential locations for
one or more on-site or near-site meteorological station(s) following the guidance in EPA-454/B-08-002 (Reference 11 to
EPA Method 325A, incorporated by reference—see §63.14).


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                                Table 7. Fugitive Emission Testing and Analysis: Fenceline/Interior
                                                                                                                                                Units of
Recommended Method        Number Tests and Location                    Duration of Tests                  Timing              To Analyze
                                                                                                                                                Measure
EPA Methods 325A/B   Number and location as determined by           Thirteen 14-day long                                     BTEX               ug/dscm
                     Section 8.2 of EPA Method 325A for ByP         sampling episodes (24                                    1,3 Butadiene      ppbv
                     and HNR                                        hours per day), 182 days
                                                                    total testing each location
EPA TO-15A2          Four locations (minimum) ByP and HNR           Seven 24-hour long            Each 24-hour long          VOC analyte        ug/dscm
                                                                    samples, each location        sampling episode must      list in Table 1-   ppbv
                     Upwind:
                                                                                                  occur on an                1 of EPA
                       One (minimum) upwind ByP and HNR
                                                                                                  approximately bi-weekly    Method TO-
                     Two downwind:                                                                basis, within the 2-week   15A2 (See
                       Downwind of batteries:                                                     period of the EPA          Appendix B)
                          One for ByP, two for HNR                                                Method 325B sampling
                       Downwind of CBRP:
                          One for ByP
                     One or two within interior grounds:
                        One near CBRP for ByP
                        One in centroid space near batteries for
                            both ByP and HNR
EPA TO-13A2          Three locations (minimum):                     Seven 24-hour long            Each 24-hour long          Analyte list in    ug/dscm
                                                                    samples, each location        sampling episode must      Table 1 of EPA     ppbv
                     Upwind:
                                                                                                  occur on an                Method TO-
                       One minimum both ByP and HNR
                                                                                                  approximately bi-weekly    13A (See
                     Two downwind:                                                                basis, within the 2-week   Appendix B)
                       Downwind of batteries:                                                     period of the EPA
                          One for ByP, two for HNR                                                Method 325A/B sampling     Note: Samples
                       Downwind of CBRP:                                                                                     must be
                          One for ByP                                                                                        analyzed using
                     One or two within interior grounds:                                                                     GC/MS
                       One near CBRP for ByP
                       One in centroid space near batteries for
                       both ByP and HNR


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        The selected facilities for fenceline/interior monitoring must submit a “Fenceline/Interior Monitoring
Plan” to EPA that includes the planned sampling locations for approval prior to conducting any of the fugitive
measurements. The “Fenceline/Interior Monitoring Plan” must depict the following: (1) The facility’s
significant emission sources of benzene, if known; (2) a description of each emission source containing enough
information that EPA is able to properly review the emission sources; (3) each U.S. EPA Methods 325A/B
sampling location(s); (4) each TO-13A and TO-15A sampling location(s); and (5) the location of the
meteorological station. You also must develop a “Test Plan” that includes a simple facility schematic showing
the coke batteries and major components of the CBRP, as applicable, that include, at minimum, the tar
production and refining units, light oil production and refining units, cooling units, sulfur recovery/
desulfurization combustion unit, ammonium sulfate production units, napthalene processing units, waste units,
and any other units included in the CBRP schematic required in Enclosure 1; and a “Quality Assurance
Procedure Plan (QAPP)” that ensures the quality of the data being produced.

       The “Fenceline/Interior Monitoring Plan,” “Test Plan,” and QAPP must be submitted to EPA within 45
days of receipt of the section 114 request. The EPA intends to conduct a quick review of those plans once
received (primarily to ensure site locations are appropriate) and promptly provide approval and/or comments
regarding the plans. Selected facilities must begin the fenceline/interior monitoring within 40 days of receipt of
EPA’s approval of the plans.

         Selected facilities must report the fenceline/interior monitoring data to the Agency every 3-months for 6-
months using the Excel® template provided in your information collection package. The schedule for
submissions is summarized in Section 2.2.2. Rename the file in the format:
Fugitive_Emission_Test_Results_[Company]_[Facility]_[Year]_[Quarter].xlsx and submit the results of the
fugitive emission tests according to the instructions in Section 3. With this submission, you also should submit
all meta data required to calculate the reported values. Direct your questions, if any, to the appropriate person
listed in Section 4.0.

1.8 Ensuring Data Quality of the Source Tests Performed

       While in most cases we are not specifying numerical minimum detection levels for the tests to be
performed, we have specified the testing conditions and methods required, including test run sample volumes or
times when appropriate, which we believe will provide data of a quality sufficient for decision making.

        We remind facility owners and testers of the CAA section 114(a)(1) requirement to provide information
requested for the development of emissions standards using methods that provide data necessary for the
decisions. That includes data of quality sufficient to support those decisions. For the most part, we can identify
test methods and procedures that will satisfy those decision making needs (e.g., minimum sampling times). In
other cases, we recognize that the facility owner's or tester's selection of test procedures or equipment could
bear significantly on the quality of the data.

        We believe that the CAA is clear in that it is the responsibility of the source and the tester to apply
methods and procedures that result in data quality necessary for our decisions, including providing for the
lowest possible detection limits considering practical and reasonable limitations. For example, facility owners
and testers should not automatically choose to use low or medium quality equipment for testing (e.g., for cost
reasons) if high quality equipment is reasonably available. We will review test reports in light of this
expectation and will be particularly mindful of whether the testing procedures applied are representative of the

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highest reasonably expected capabilities (e.g., comparing reported minimum measurement detection levels
between tests and testers). On completion of your required tests, please provide a complete test report, including
appendices. A complete test report includes the following information, at a minimum:

      General identification information for the facility including a mailing address, the actual address, the
       owner or operator or responsible official (where they are applicable) or an appropriate representative and
       an email address for this person, and the appropriate Federal Registry System (FRS) number for the
       facility;
      A brief process description, including a flow diagram clearly showing the sampling site;
      A complete unit description, including control devices, the appropriate source classification code (SCC),
       the latitude and longitude of the emission process point being tested (to five decimal places), and the
       maximum permitted process rate (where applicable);
      Sampling site description;
      Description of sampling and analysis procedures and any modifications to standard procedures;
      Quality assurance procedures;
      Description of any deviations from the test methods or other anomalies that occurred with the process or
       control device operations during the test; Run-by-run emission data;
      Stack or exhaust gas flow rate (as determined using EPA Method 2, 2F, 2G, or 5D) at the time of and
       during the emissions test, as appropriate;
      Any process data and control device monitoring data required in this test request;
      Sample calculations of all applicable stack gas parameters, emission rates and analytical results, as
       applicable;
      Raw field data sheets and notes;
      Laboratory data and analysis reports;
      Chain-of-custody documentation;
      Explanation of laboratory data qualifiers;
      Quality assurance and quality control activities performed;
      Identification information for the company conducting the performance test including a contact person
       and his/her email address; and
      Any other information required by the test method.
        If we believe that a facility owner or tester has failed to meet the requirement of the CAA to provide
data of sufficient quality or quantity for our decisions, we will request additional measurements that require the
use of improved testing procedures.

2.0 How to Report Data

       The method for reporting the results of any testing and monitoring requests depend on the type of tests
and methods used to complete the test requirements. This section discusses the requirements for reporting the
data. Reporting data using the EPA’s ERT Version 6 is discussed in Section 2.1. Reporting data for test
methods not supported by the EPA’s ERT is discussed in Section 2.2.




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2.1 Reporting Stack Test Data within ERT

         If you conducted a stack test using one of the methods listed in Table 8, shown below, you must report
your data using the EPA’s ERT Version 6. The ERT is a Microsoft® Access database application. If you are not
a registered owner of Microsoft® Access, you can install the runtime version of the ERT Application. The ERT
must be downloaded onto your computer prior to data entry. The ERT are available at
http://www3.epa.gov/ttnchie1/ert/. The ERT supports an Excel® spreadsheet application (which can be
downloaded at the same web address as the ERT) to document the collection of the field sampling data and
easily upload into the ERT. After completing data entry in the ERT, you will also need to attach an electronic
copy of the emission test report (PDF format preferred) to the Attachments module of the ERT. Both the ERT
database and the emission test report should be transmitted to the EPA using one of the options described below
in Section 3. Enclosure 8 to this section 114 package provides an EPA ERT Version 6 example test plan and
lists each field within the ERT and notes whether or not the field is required or optional. Note: The required
reporting includes the latitude and longitude of each stack or emission process point tested (in decimal degrees
to five (5) decimal places, which are the digits to the right of the decimal point).

                 Table 8: List of Applicable Coke Section 114 Source Test Methods Supported by
                                     EPA’s Electronic Reporting Tool – ERT


                                 Coke Section 114 Test Methods Supported by ERT

                         EPA Methods 1 through 4 (not 2F, 2G)
                         EPA Method 3A
                         EPA Method 5, 5B, 5F, 5G
                         EPA Method 6C
                         EPA Method 10
                         EPA Method 26A
                         EPA Method 29
                         Other Test Method 46

2.2 Reporting Other Test Data Not Listed in ERT

2.2.1 Air and Other Emission Tests and Door Leaks

       You must report your test results for the following methods in copies of the spreadsheet answer files
[Coke-Enclosure-2-Emission Test Data Answer File.xlsx and Coke-Enclosure-2-Door-Leaks.xlsx] provided in
your coke section 114 package for methods NOT supported by ERT. Note each method has a separate
worksheet:




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       Air and Other Tests NOT in ERT
       EPA Method 2F, 2G
       EPA Method 3B or CO2 by facility CEMS
       EPA Method 5D
       EPA Method 6 or SO2 by facility CEMS
       EPA Method 9 or opacity by facility COMS
       EPA Method 15
       EPA Method 18 or gas chromatographic CEMS
       EPA Method 303
       EPA Method 320
       EPA ALT-082 [ASTM D7520-13 (camera)]
       CO by facility CEMS
       ASTM D4891-13 (2018)
       ASTM D5954-98 (2006)
       GPA STD 2286 (2014)
       TCEQ Appendix P

         You must report the results of each test on the appropriately labeled worksheet that you develop using
the spreadsheet that corresponds to the specific tests requested at your facility. If more than one source at your
facility was tested using methods not currently supported by the ERT, you must save an electronic copy of each
worksheet to report each test performed, making sure to update the source ID in order to distinguish between
each separate source/test. After completing the worksheet, you must also submit an electronic copy of the
emission test report (PDF format preferred). Both the Coke Manufacturing Test Data Answer Excel File with
completed worksheets and the emission test report should be transmitted to the EPA using one of the options
described below in Section 3.

2.2.2 Fugitive (Fenceline/Interior) Monitoring

       Table 9 shows the schedule for fugitive emission testing. Once your fugitive test plan has been
approved by EPA, you must report the fugitive emission sampling data, conducted with EPA Methods 325A/B
and TO-13A&TO-15A, to the agency using the Excel® template provided in your information collection
package. Rename the file in the format: Fugitive_Emission_Test_Tesults_[Company]_[Facility]_[Year]_[Quarter].xlsx

                                  Table 9. Schedule for Fugitive Air Testing
                                                                                                   Approval by
                Item                                        Date Due EPA
                                                                                                        EPA
Fugitive monitoring plan                                                                          Within 14 days
                                         Within 45 days from receipt of EPA section 114
Fugitive test plan                                                                                of receipt of all
                                         request
Fugitive monitoring QAPP                                                                          plans
Begin fugitive monitoring                Within 40 days of receipt of EPA’s approval of the
                                         plans.
First 3 months of data                   Within 140 days of the date EPA approves the
                                         monitoring plan
Second 3 months of data                  Within 230 days of the date EPA approves the
                                         monitoring plan

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       Submit the results of the fugitive sampling data according to the submittal instructions in Section 3.
With this submission, you should also submit all meta data required to calculate the reported values. Direct any
questions to the appropriate person listed in Section 4. The fugitive air sampling test data report should be
transmitted to the EPA using one of the options described in Section 3.

2.3 Guidance for Calculating and Reporting Measurements Less Than In-Stack Method Detection Levels
for Emissions Data Submitted in Response to Section 114 Information Collection Request (ICR)
Programs

      Please identify the status of measured values relative to detection levels on the spreadsheet or in the
ERT using the descriptions below. For each reported emissions value, insert the appropriate flag (BDL, DLL, or
ADL) in the “Note” line of the Excel® emission test spreadsheet template or in the “Flag” column of the ERT.

          BDL (below detection level) – all analytical values used to calculate and report an in-stack
           emissions value are less than the laboratory’s reported detection level(s);
          DLL (detection level limited) – at least one but not all values used to calculate and report an in-stack
           emissions value are less than the laboratory’s reported detection level(s); or
          ADL (above detection level) – all analytical values used to calculate and report an in-stack
           emissions value are greater than the laboratory’s reported detection level(s).

       When reporting and calculating individual test run data:

   You must use the method specified approach for calculation and determination of the analytical detection
    limit for values that are below this limit (BDL). If the method does not specify the approach and calculation
    of BDL, determine the BDL as follows:
          For air sampling and analysis methods, you must determine BDL in accordance with the procedures
           specified in Section 15 of Method 301.

   For analytical data reported from the laboratory as above BDL, include as ADL.

   For analytical data reported from the lab as “nondetect” or “below detection level”
        Include a brief description of the procedures used to determine the analytical detection and in-stack
           detection level:
               o In the Note line of the emission test spreadsheet template provided by EPA; or
               o In the Comments line of Lab Data tab in the Run Data Details in the ERT.
        Describe these procedures completely in a separate attachment or report section, and include the
           measurements made, the standards used, and the statistical procedures applied.
        Calculate in-stack emissions rate for any analytical measurement below detection level using the
           relevant BDL, sampling volumes and other relevant run specific parameters (such as oxygen or
           flowrate). The reported value must assume that the analyte is present at the full BDL value.
        Report the calculated emissions concentration or rate result:
               o As a bracketed “less than” detection level value (e.g., [<0.0105]) in the Excel® emission test
                   spreadsheet template and include the appropriate flag in the Note line; or
               o As a numerical value in the ERT with the appropriate flag in the Flag column.

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          Report as numerical values (i.e., no brackets or < symbol) any analytical data measured above the
           BDL, including any data between the BDL and a laboratory-specific reporting or quantification level
           (i.e., flag as ADL).
          Apply these reporting and calculation procedures to measurements made with Method 23:
                      Report data in the ERT for each of the D/F congeners measured with Method 23 below
                         the detection level as [< detection level];
                     Do not report emissions of individual congeners as zero. The use of zero in Section 9.9 of
                      EPA Method 23 is only for the determination of total dioxin/furan emissions in toxic
                      equivalents.

   For pollutant measurements composed of multiple components or fractions (e.g., metals sampling train),
       when the result for the value for any component is measured below the BDL;
        Calculate in-stack emissions rate or concentrations as outlined above for each component or fraction;
        Sum the measured and/or calculated values (using the BDL as outlined above) for all of the
           components or fractions, and
        Report the sum of all components or fractions:
               o As a bracketed “less than” detection level value (e.g., [<0.0105]) in the Excel® emission test
                   spreadsheet template and include the appropriate flag in the Note line; or
               o As a numerical value in the ERT with the appropriate flag in the Comments line
               o If all components or fractions are BDL, the appropriate flag is BDL. If any component or
                   fraction is ADL, the appropriate flag is DLL.
          In addition to reporting the sum of the components or fractions, report the individual component or
           fraction values for each run if the Excel® emission test spreadsheet template or ERT format allows.
           If the Excel® emission test spreadsheet template or ERT format does not allow reporting of the
           individual components or fractions (i.e., the format allows reporting only a single sum value):
                o For the Excel® emission test spreadsheet template, next to the sum reported as above report
                   in the Notes line the appropriate flag along with the values for the measured or detection
                   level value for each component or fraction as used in the calculations (e.g., 0.036, [<0.069],
                   1.239, [<0.945] for a four fraction sample)
                o For the ERT, next to the sum reported as above, report in the Flag column the appropriate
                   general flag and in the Comments column the measured or BDL value for each component or
                   fraction as used in the calculations (e.g., 0.036, [<0.069], 1.239, [<0.945] for a four fraction
                   sample).

   For measurements conducted using instrumental test methods (e.g., Methods 3A, 6C, 10):
        Record gaseous concentration values as measured including negative values and flag as ADL; do not
          report as BDL
        Calculate and report in-stack emissions rates using these measured values
        Include relevant information relative to calibration gas values or other technical qualifiers for
          measured values in Comments line in the ERT.

   When reporting and calculating average emissions rate or concentration for a test when some results are
      reported as BDL:
       Sum all of the test run values including those indicated as BDL or DLL as numerical values

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          Calculate the average emissions rate or concentration (e.g., divide the sum by 3 for a three-run test
           series)
          Report the average emissions rate or concentration average:
               o As a bracketed “less than” detection level value (e.g., [<20.06]) in the Excel® emission test
                   spreadsheet template and include the appropriate flag in the Note line
               o As a numerical value in the ERT and include the appropriate flag in the Comments line.
               o If all test run values are BDL, the appropriate flag is BDL. If any test run value is ADL or
                   DLL, the appropriate flag is DLL.

3.0 How to Submit Data

3.1 Non-confidential Data

        You should submit your non-confidential data (including the responses to the Questionnaire, , new test
reports, ERT database, Excel® spreadsheets (non-ERT methods and fenceline/interior monitoring), and
associated information, etc.) in one of the ways listed below. Please refer to Enclosure 4 to aid you in
determining what information can be claimed confidential. In order to avoid duplicate data and keep all data for
a particular facility together, we request that you submit all of the data requested from any one facility in the
same way, if possible. To submit your data, you may choose any ONE of the procedures below:

(1) Preferred – Email an electronic copy of all non-confidential requested files to Coke.ICR2@rti.org (please
try to keep file sizes sent over email smaller than 10 MB). If assistance is needed with submitting large
electronic files that exceed the file size limit for email attachments, please email Coke.ICR2@rti.org to request
a file transfer link. or

(2) Alternative – Mail a CD, DVD, or flash drive/USB containing an electronic copy of all non-confidential
requested files to either of the two EPA address below (hard copies are permitted if that’s the only possibility;
otherwise, electronic is preferred).

      Please use the address below for U.S. postal service for non-confidential mail if using the alternative
method of delivery:

       Dr. Donna Lee Jones (Mail Code D243-02) NONCONFIDENTIAL
       Metals and Inorganic Chemicals Group
       U.S. Environmental Protection Agency
       Office of Air Quality Planning and Standards
       Research Triangle Park, NC 27711

       Please use the address below for commercial package carriers, such as FedEx or UPS, for non-
confidential mail if using the alternative method of delivery:




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       Dr. Donna Lee Jones (Mail Code D243-02) NONCONFIDENTIAL
       Metals and Inorganic Chemicals Group
       U.S. Environmental Protection Agency
       Office of Air Quality Planning and Standards
       4930 Old Page Road
       Durham, NC 27709

3.2 Submitting Confidential Data

        Our preferred method to receive confidential business information (CBI) is for it to be transmitted to the
Office of Air Quality Planning and Standards (OAQPS) electronically using email and attachments, File
Transfer Protocol, or the online file sharing services (e.g., Dropbox, OneDrive, Google Drive). Electronic
submissions must be transmitted directly to the OAQPS CBI Office using the email address, oaqpscbi@epa.gov
, and should include clear CBI markings. If assistance is needed with submitting large electronic files that
exceed the file size limit for email attachments, and if you do not have your own file sharing service, please
email oaqpscbi@epa.gov to request a file transfer link.

4.0 Contact Information for All Questions Including Testing and Reporting

       Please send all written questions and/or comments by EMAIL to Dr. Donna Lee Jones at
Jones.DonnaLee@epa.gov or by EMAIL to Chuck French at French.Chuck@epagov . You may also send a
hard copy duplicate if you wish. Make sure you give these complete instructions to any contractors or testing
companies that you employ to assist you with the testing. Contractors and testing companies may also contact
Dr. Jones directly if you so choose. For questions specific to testing and reporting, please also include in the
email: Kevin McGinn at Mcginn.Kevin@epa.gov, and Ned Shappley at Shappley.Ned@epa.gov.




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                                Appendix A
                          Abbreviations & Acronyms

        Acronym                              Parameter
    acf           actual cubic feet
    acfm          actual cubic feet per minute
    acm           actual cubic meters
    ADL           above detection level
    APC           air pollution control
    ASTM          American Society for Testing and Materials
    atm           atmosphere
    BDL           below detection level
    Btu/hr        British thermal units per hour
    Btu/scf       British thermal units per standard cubic foot
    CAA           Clean Air Act
    CBI           confidential business information
    CBRP          coke by-product recovery plant
    CEMS          continuous emission monitoring system
    CFR           Code of Federal Regulations
    CO            carbon monoxide
    CO2           carbon dioxide
    COG           coke oven gas
    COMS          continuous opacity monitoring system
    Cr            chromium
    CTM           conditional test method
    day/yr        days per year
    °C            degrees Celsius
    °F            degrees Fahrenheit
    D/F           dioxins and furans
    DLL           detection level limited
    dscf          dry standard cubic feet
    dscfm         dry standard cubic feet per minute
    dscm          dry standard cubic meters
    dscmm         dry standard cubic meters per minute
    EPA           U.S. Environmental Protection Agency
    ERT           electronic reporting tool
    ESP           electrostatic precipitator
    Ft            foot or feet
    ft2           square feet
    ft3           cubic feet
    fpm           feet per minute (acfm divided by ft2 of filter area)
    fps           feet per second
    gal           gallon
    gpm           gallons per minute (U.S.)
    gr            grain
    gr/dscf       grains per dry standard cubic foot
    g             gram

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       Acronym                             Parameter
    HAP          hazardous air pollutants
    HCl          hydrogen chloride
    H2S          hydrogen sulfide
    Hg           mercury
    HRSG         heat recovery steam generator
    HNR          heat and non-recovery process
    hr           hour or hours
    hr/day       hours per day
    ICR          information collection request
    in.          inch or inches
    in. H2O      inches of water (pressure drop)
    kg           kilogram
    kPa          kilopascals
    kv           kilovolt
    kw-hr        kilowatt hour
    lb           pound
    lb/day       pounds per day
    lb/gas       pounds per U.S. gallon
    lb/hr        pounds per hour
    lb/ton       pounds per ton
    m            meter
    m3           cubic meters
    MACT         maximum achievable control technology
    MDL          method detection level
    min          minute or minutes
    Mg           Megagram
    mg           Milligram
    mg/kg        milligram per kilogram
    mg/l         milligrams per liter
    MM btu/hr    millions of British thermal units per hour
    MM scf       millions of standard cubic feet
    MMlb/yr      million pounds per year
    µg/m3        microgram per cubic meter
    µm           micrometer
    NAICS        North American Industry Classification System
    NESHAP       National Emission Standards for Hazardous Air Pollutants
    NOx          nitrogen oxides
    OAQPS        Office of Air Quality Planning and Standards
    OTM          Other Test Method
    PAH          polynuclear aromatic hydrocarbon
    PM           particulate matter
    PM2.5        particulate matter that is 2.5 micrometers or less in diameter
    ppmv         parts per million by volume
    ppmw         parts per million by weight
    PS           performance specification
    RATA         relative accuracy test audit

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      Acronym                          Parameter
    %           percent
    s           second or seconds
    scf         standard cubic feet
    scf/hr      standard cubic feet per hour
    scfm        standard cubic feet per minute
    scm         standard cubic meters
    scmm        standard cubic meters per minute
    SO2         sulfur dioxide
    SPPD        Sector Policies and Programs Division
    TCEQ        Texas Commission on Environmental Quality
    THC         total hydrocarbons
    TO          toxic organics
    tpd         tons (short) per day (U.S.)
    tph         tons (short) per hour (U.S.)
    tpy         tons (short) per year (U.S.)
    TDS         total dissolved solids
    TSO         toluene-soluble organics (EPA Method 315)
    TSP         total suspended particulate
    VOHAP       volatile organic HAP
    vol%        volume percent, or percent by volume
    wt%         weight percent, or percent by weight
    yr          year




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     To Convert From:      To:                   Multiply by:
             °C             °F           multiply by 1.8, then add 32
             °F            °C         subtract 32, then multiply by 0.556
              ft            m                        0.3048
           ft/min        m/min                       0.3048
             ft2           m2                        0.0929
             ft3           m3                         0.028
               g            lb                       0.0022
            g/m3          lb/ft3                   0.0000624
              gr            lb                      0.000143
           gr/dscf      mg/dscm                       2,290
          in water      mm water                       25.4
            kg/hr         lb/hr                       2.205
              lb             g                         454
              lb            gr                        7000
            lb/ft3        g/m3                       16,000
            lb/hr         kg/hr                       0.454
              m             ft                         3.28
           m/min         ft/min                        3.28
         mm water       in water                     0.0394
             m2             ft2                       10.76
          mg/dscm        gr/dscf                     0.00044
             m3             ft3                       35.31
             Mg            ton                         1.1
         ton (short)       Mg                         0.907




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                  List of Hazardous Air Pollutants (HAP)

 CAS Number                            Chemical Name
               Antimony Compounds
               Arsenic Compounds (inorganic including arsine)
               Beryllium Compounds
               Cadmium Compounds
               Chromium Compounds
               Cobalt Compounds
               Coke Oven Emissions
               Cyanide Compounds1
               Glycol ethers2
               Lead Compounds
               Manganese Compounds
               Mercury Compounds
               Fine mineral fibers3
               Nickel Compounds
               Polycyclic Organic Matter4
               Radionuclides (including radon)5
               Selenium Compounds
      75070    Acetaldehyde
      60355    Acetamide
      75058    Acetonitrile
      98862    Acetophenone
      53963    2-Acetylaminofluorene
     107028    Acrolein
      79061    Acrylamide
      79107    Acrylic acid
     107131    Acrylonitrile
     107051    Allyl chloride
      92671    4-Aminobiphenyl
      62533    Aniline
      90040    o-Anisidine
    1332214    Asbestos
      71432    Benzene (including benzene from gasoline)
      92875    Benzidine
      98077    Benzotrichloride
     100447    Benzyl chloride
      92524    Biphenyl
     117817    Bis(2-ethylhexyl)phthalate (DEHP)
     542881    Bis(chloromethyl)ether
      75252    Bromoform
     106945    1-bromopropane
     106990    1,3-Butadiene


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 CAS Number                             Chemical Name
    156627     Calcium cyanamide
    133062     Captan
     63252     Carbaryl
     75150     Carbon disulfide
     56235     Carbon tetrachloride
    463581     Carbonyl sulfide
    120809     Catechol
    133904     Chloramben
     57749     Chlordane
   7782505     Chlorine
     79118     Chloroacetic acid
    532274     2-Chloroacetophenone
    108907     Chlorobenzene
    510156     Chlorobenzilate
     67663     Chloroform
    107302     Chloromethyl methyl ether
    126998     Chloroprene
   1319773     Cresols/Cresylic acid (isomers and mixture)
     95487     o-Cresol
    108394     m-Cresol
    106445     p-Cresol
     98828     Cumene
     94757     2,4-D, salts and esters
   3547044     DDE
    334883     Diazomethane
    132649     Dibenzofurans
     96128     1,2-Dibromo-3-chloropropane
     84742     Dibutylphthalate
    106467     1,4-Dichlorobenzene(p)
     91941     3,3-Dichlorobenzidene
    111444     Dichloroethyl ether (Bis(2-chloroethyl)ether)
    542756     1,3-Dichloropropene
     62737     Dichlorvos
    111422     Diethanolamine
    121697     N,N-Diethyl aniline (N,N-Dimethylaniline)
     64675     Diethyl sulfate
    119904     3,3-Dimethoxybenzidine
     60117     Dimethyl aminoazobenzene
    119937     3,3'-Dimethyl benzidine
     79447     Dimethyl carbamoyl chloride
     68122     Dimethyl formamide
     57147     1,1-Dimethyl hydrazine
    131113     Dimethyl phthalate


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 CAS Number                            Chemical Name
     77781     Dimethyl sulfate
    534521     4,6-Dinitro-o-cresol, and salts
     51285     2,4-Dinitrophenol
    121142     2,4-Dinitrotoluene
    123911     1,4-Dioxane (1,4-Diethyleneoxide)
    122667     1,2-Diphenylhydrazine
    106898     Epichlorohydrin (l-Chloro-2,3-epoxypropane)
    106887     1,2-Epoxybutane
    140885     Ethyl acrylate
    100414     Ethyl benzene
     51796     Ethyl carbamate (Urethane)
     75003     Ethyl chloride (Chloroethane)
    106934     Ethylene dibromide (Dibromoethane)
    107062     Ethylene dichloride (1,2-Dichloroethane)
    107211     Ethylene glycol
    151564     Ethylene imine (Aziridine)
     75218     Ethylene oxide
     96457     Ethylene thiourea
     75343     Ethylidene dichloride (1,1-Dichloroethane)
     50000     Formaldehyde
     76448     Heptachlor
    118741     Hexachlorobenzene
     87683     Hexachlorobutadiene
     77474     Hexachlorocyclopentadiene
     67721     Hexachloroethane
    822060     Hexamethylene-1,6-diisocyanate
    680319     Hexamethylphosphoramide
    110543     Hexane
    302012     Hydrazine
   7647010     Hydrochloric acid
    74908      Hydrogen cyanide
   7664393     Hydrogen fluoride (Hydrofluoric acid)
    123319     Hydroquinone
     78591     Isophorone
     58899     Lindane (all isomers)
    108316     Maleic anhydride
     67561     Methanol
     72435     Methoxychlor
     74839     Methyl bromide (Bromomethane)
     74873     Methyl chloride (Chloromethane)
     71556     Methyl chloroform (1,1,1-Trichloroethane)
     60344     Methyl hydrazine
     74884     Methyl iodide (Iodomethane)


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 CAS Number                              Chemical Name
    108101     Methyl isobutyl ketone (Hexone)
    624839     Methyl isocyanate
     80626     Methyl methacrylate
   1634044     Methyl tert butyl ether
    101144     4,4-Methylene bis(2-chloroaniline)
     75092     Methylene chloride (Dichloromethane)
    101688     Methylene diphenyl diisocyanate (MDI)
    101779     4,4'¬-Methylenedianiline
     91203     Naphthalene
     98953     Nitrobenzene
     92933     4-Nitrobiphenyl
    100027     4-Nitrophenol
     79469     2-Nitropropane
    684935     N-Nitroso-N-methylurea
     62759     N-Nitrosodimethylamine
     59892     N-Nitrosomorpholine
     56382     Parathion
     82688     Pentachloronitrobenzene (Quintobenzene)
     87865     Pentachlorophenol
    108952     Phenol
    106503     p-Phenylenediamine
     75445     Phosgene
   7803512     Phosphine
   7723140     Phosphorus
     85449     Phthalic anhydride
   1336363     Polychlorinated biphenyls (Aroclors)
   1120714     1,3-Propane sultone
     57578     beta-Propiolactone
    123386     Propionaldehyde
    114261     Propoxur (Baygon)
     78875     Propylene dichloride (1,2-Dichloropropane)
     75569     Propylene oxide
     75558     1,2-Propylenimine (2-Methyl aziridine)
     91225     Quinoline
    106514     Quinone
    100425     Styrene
     96093     Styrene oxide
   1746016     2,3,7,8-Tetrachlorodibenzo-p-dioxin
     79345     1,1,2,2-Tetrachloroethane
    127184     Tetrachloroethylene (Perchloroethylene)
   7550450     Titanium tetrachloride
    108883     Toluene
     95807     2,4-Toluene diamine


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             CAS Number                                  Chemical Name
                584849         2,4-Toluene diisocyanate
                 95534         o-Toluidine
               8001352         Toxaphene (chlorinated camphene)
                120821         1,2,4-Trichlorobenzene
                 79005         1,1,2-Trichloroethane
                 79016         Trichloroethylene
                 95954         2,4,5-Trichlorophenol
                 88062         2,4,6-Trichlorophenol
                121448         Triethylamine
               1582098         Trifluralin
                540841         2,2,4-Trimethylpentane
                108054         Vinyl acetate
                593602         Vinyl bromide
                 75014         Vinyl chloride
                 75354         Vinylidene chloride (1,1-Dichloroethylene)
               1330207         Xylenes (isomers and mixture)
                 95476         o-Xylenes
                108383         m-Xylenes
                106423         p-Xylenes

Note: For all listings above which contain the word "compounds" and for glycol ethers, the following applies:
“Unless otherwise specified, these listings are defined as including any unique chemical substance that contains
the named chemical (i.e., antimony, arsenic, etc.) as part of that chemical's infrastructure.”

Footnotes:
1: X'CN where X = H' or any other group where a formal dissociation may occur. For example KCN or
Ca(CN)2. Note: Hydrogen cyanide has its own CAS No.
2: Includes mono- and di- ethers of ethylene glycol, diethylene glycol, and triethylene glycol R-(OCH2CH2)n -
OR' where:
     n = 1, 2, or 3
     R = alkyl or aryl groups
     R' = R, H, or groups which, when removed, yield glycol ethers with the structure: R-(OCH2CH)n-OH.
     Polymers are excluded from the glycol category. Also excludes ethylene glycol monobutyl ether (EGBE)
     (2-Butoxyethanol) (Chemical Abstract Service (CAS) No. 111-76-2) and surfactant alcohol ethoxylates and
     their derivatives (SAED).
 3: Includes mineral fiber emissions from facilities manufacturing or processing glass, rock, or slag fibers (or
other mineral derived fibers) of average diameter 1 micrometer or less.
4: Includes organic compounds with more than one benzene ring, and which have a boiling point greater than or
equal to 100º C.
5: A type of atom which spontaneously undergoes radioactive decay.




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                                Appendix B
               Table 1 from TO-13A2 and Table 1-1 from TO-152




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                                                               EPA/625/R-96/010b




               Compendium of Methods
               for the Determination of
              Toxic Organic Compounds
                     in Ambient Air

                        Second Edition


            Compendium Method TO-13A

     Determination of Polycyclic Aromatic
Hydrocarbons (PAHs) in Ambient Air Using Gas
 Chromatography/Mass Spectrometry (GC/MS)




               Center for Environmental Research Information
                    Office of Research and Development
                   U.S. Environmental Protection Agency
                            Cincinnati, OH 45268

                               January 1999
                                                                                               TABLE 1. FORMULAE AND PHYSICAL PROPERTIES OF SELECTED PAHs
                                                                                                                                                                                                           Vapor Pressure,




Page 13A-46
                                                                          Compound                  Formula                             Molecular Weight            Melting Point, EC   Boiling Point,EC        kPa          CAS RN #
                                                                                                                                                                                                                                        Method TO-13A




                                                             Naphthalene                             C H                      10        8                  128.18         80,2                218             1.1x10          91-20-3

                                                             Acenaphthylene                          C H                                12       8         152.20        92-93              265-280           3.9x10         208-96-8

                                                             Acenaphthene                            C H                       12           10             154.20        90-96              278-279           2.1x10          83-32-9

                                                             Fluorene                                C H           13    10                                166.23       116-118             293-295           8.7x10          86-73-7

                                                             Anthracene                              C H                 14        10                      178.24       216-219               340              36x10         120-12-7

                                                             Phenanthrene                            C H                      14        10                 178.24        96-101             339-340           2.3x10          85-01-8

                                                             Fluoranthene                            C H                      16        10                 202.26       107-111             375-393           6.5x10         206-44-0

                                                             Pyrene                                  C H      16    10                                     202.26       150-156             360-404           3.1x10         129-00-0

                                                             Benz(a)anthracene                       C H                                     18        12  228.30       157-167               435             1.5x10          56-55-3

                                                             Chrysene                                C H           18     12                               228.30       252-256             441-448           5.7x10         218-01-9

                                                             Benzo(b)fluoranthene                    C H                                               20  252.32
                                                                                                                                                            12          167-168               481             6.7x10         205-99-2

                                                             Benzo(k)fluoranthene                    C H                                               20  252.32
                                                                                                                                                             12         198-217             480-471           2.1x10         207-08-9

                                                             Perylene                                C H           20    12                                252.32       273-278             500-503           7.0x10         198-55-8

                                                             Benzo(a)pyrene                          C H                            20           12        252.32       177-179             493-496           7.3x10          50-32-8

                                                             Benzo(e)pyrene                          C H                            20           12        252.32       178-179               493             7.4x10         192-92-2

                                                             Benzo(g,h,i)perylene                    C H                                              22   276.34
                                                                                                                                                            12          275-278               525             1.3x10         191-24-2

                                                             Indeno(1,2,3-cd)pyrene                  C H                                                   276.34
                                                                                                                                                           22 12        162-163                --              ca.10         193-39-5




Compendium of Methods for Toxic Organic Air Pollutants
                                                             Dibenz(a,h)anthracene                   C H                                                   278.35
                                                                                                                                                           2214         266-270               524             1.3x10          53-70-3

                                                             Coronene                                C H            24    12                               300.36       438-440               525             2.0x10         191-07-1
                                                                            mpounds sublime.
                                                          1
                                                         Many of these co
                                                                                                                                                                                                                                                        Case 3:19-cv-02004-VC Document 64-7 Filed 07/06/22 Page 37 of 41


                                                                                                                                                                                                                                        PAHs




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Method TO-15A

Determination of Volatile Organic Compounds (VOCs) in Air
Collected in Specially Prepared Canisters and Analyzed by
Gas Chromatography–Mass Spectrometry (GC-MS)




U.S. Environmental Protection Agency
Office of Research and Development
National Exposure Research Laboratory
Office of Air Quality Planning and Standards
Air Quality Assessment Division
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                                                Method TO-15A
                                                 September 2019                                            VOCs



         1       Scope




                      Table 1-1: Volatile Organic Compounds Quantifiable with EPA Method TO-15A



                                                                                        Vapor
                                                                                        Pressure   Molecular   Typical
                                                Empirical       CASb       Boiling      at 20 °C   Weight      Ions
VOC (Alternative Name)a                         Formula         Number     Point (°C)   (mm Hg)c   (g/mol)     Monitored

Propene (propylene)                             C3H6            115-07-1   -48.0        8686       42.1        41/39
Dichlorodifluoromethane (Freon 12)              CCl2F2          75-71-8    -29.8        4260       120.9       85/87
Chloromethane (methyl chloride)                 CH3Cl           74-87-3    -23.7        3672       50.5        50/52
Chloroethene (vinyl chloride)                   C2H3Cl          75-01-4    -13.8        2505       62.5        62/64
1,3-Butadiene (butadiene)                       C4H6            106-99-0   -4.0         1838       54.1        39/54
1,2-Dichlorotetrafluoroethane (Freon 114)       C2Cl2F4         76-14-2    4.1          1444       170.9       85/135
Bromomethane (methyl bromide)                   CH3Br           74-83-9    3.5          1420       94.9        94/96
Ethylene oxide                                  C2H4O           75-21-8    10.6         1095       44.1        29/44/15
Chloroethane (ethyl chloride)                   C2H5Cl          75-00-3    12.5         1000       64.5        64/66
Trichlorofluoromethane (Freon 11)               CFCl3           75-69-4    23.7         690        137.4       101/103
1,1-Dichloroethene (vinylidene chloride)        C2H2Cl2         75-35-4    31.7         500        96.9        61/96




                                                            1
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                                                            Method TO-15A
                                                             September 2019                                              VOCs


                                                                                                      Vapor
                                                                                                      Pressure   Molecular   Typical
                                                            Empirical       CASb         Boiling      at 20 °C   Weight      Ions
VOC (Alternative Name)a                                     Formula         Number       Point (°C)   (mm Hg)c   (g/mol)     Monitored
Dichloromethane (methylene chloride)                        CH2Cl2          75-09-2      39.8         350        84.9        49/84
Carbon disulfide (methanedithione)                          CS2             75-15-0      46.0         297        76.1        76/44
1,1,2-Trichlorotrifluoroethane (Freon 113)                  C2Cl3 F3        76-13-1      47.7         285        187.4       101/151
2-Propenal (acrolein)                                       C3H4O           107-02-8     52.3         217        56.1        56/55
2-Methoxy-2-methylpropane (methyl tert-butyl ether, MTBE)   C5H12O          1634-04-4    55.2         203        88.2        73/41
2-Chloro-1,3-butadiene (chloroprene)                        C4H5Cl          126-99-8     59.4         188        88.5        88/53
1,1-Dichloroethane (ethylidene chloride)                    C2H4Cl2         75-34-3      57.4         182        99.0        63/65
cis-1,2-Dichloroethene (cis-1,2-dichloroethylene)           C2H2Cl2         156-59-2     55.0         180–265    96.9        61/96
trans-1,2-Dichloroethene (trans-1,2-dichloroethylene)       C2H2Cl2         156-60-5     48.7         180–265    96.9        61/96
2-Propanone (acetone)                                       C3H6O           67-64-1      56.1         180        58.1        43/58
Trichloromethane (chloroform)                               CHCl3           67-66-3      61.2         160        119.4       83/85
Tetrahydrofuran (oxolane)                                   C4H8O           109-99-9     66.0         132        72.1        42/41
Hexane                                                      C6H14           110-54-3     68.7         120        86.2        57/43
Isopropyl ether (diisopropyl ether)                         C6H14O          108-20-3     69.0         119        102.2       45/43
1,1,1-Trichloroethane (methyl chloroform)                   C2H3Cl3         71-55-6      74.0         100        133.4       97/99
2-Ethoxy-2-methylpropane (ethyl tert-butyl ether, ETBE)     C6H14O          637-92-3     72.6         96         102.2       59/87
Methanol (methyl alcohol)                                   CH4O            67-56-1      64.7         92         32.0        31/29
Carbon tetrachloride (tetrachloromethane)                   CCl4            56-23-5      76.5         91         153.8       117/119
Ethenyl acetate (vinyl acetate)                             C4H6O2          108-05-4     72.7         83         86.1        43/86
2-Propenenitrile (acrylonitrile)                            C3H3N           107-13-1     77.3         83         53.1        53/52
2-Butanone (methyl ethyl ketone, MEK)                       C4H8O           78-93-3      79.6         78         72.1        43/72
Cyclohexane                                                 C6H12           110-82-7     80.7         78         84.2        56/84
Benzene                                                     C6H6            71-43-2      80.1         76         78.1        78/77
Acetonitrile (cyanomethane)                                 C2H3N           75-05-8      81.6         73         41.1        41/40
Ethyl acetate                                               C4H8O2          141-78-6     77.1         73         88.1        43/61
2-Methoxy-2-methylbutane (tert-amyl methyl ether)           C6H14O          994-05-8     86.3         68         102.2       73/43
1,2-Dichloroethane (ethylene dichloride)                    C2H4Cl2         107-06-2     83.5         64         99.0        62/64
1,1,2-Trichloroethene (trichloroethylene)                   C2HCl3          79-01-6      87.2         58         131.4       130/132
Bromodichloromethane                                        CHBrCl2         75-27-4      90.0         50         163.8       83/85
Ethanol (ethyl alcohol)                                     C2H6O           64-17-5      78.3         44         46.1        31/45
1,2-Dichloropropane (propylene dichloride)                  C3H6Cl2         78-87-5      96.0         42         113.0       63/62
Heptane                                                     C7H16           142-82-5     98.4         35         100.2       43/41
2-Propanol (isopropanol)                                    C3H8O           67-63-0      82.3         33         60.1        45/43
2-Methyl-2-propanol (tert-butyl alcohol, TBA)               C4H10O          75-65-0      82.3         31         74.1        59/31
1,4-Dioxane (p-dioxane)                                     C4H8O2          123-91-1     101.2        29         88.1        88/58
Methyl methacrylate (methyl 2-methylprop-2-enoate)          C5H8O2          80-62-6      100.5        29         100.1       41/69
trans-1,3-Dichloropropene (trans-1,3-dichloropropylene)     C3H4Cl2         10061-02-6   108.0        28         111.0       75/39
cis-1,3-Dichloropropene (cis-1,3-dichloropropylene)         C3H4Cl2         10061-01-5   104.3        26         111.0       75/39
Toluene (methylbenzene)                                     C7H8            108-88-3     110.6        21         92.1        91/92
1,1,2-Trichloroethane                                       C2H3Cl3         79-00-5      114.0        19         133.4       97/83




                                                                        2
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                                                                 Method TO-15A
                                                                  September 2019                                            VOCs


                                                                                                         Vapor
                                                                                                         Pressure   Molecular   Typical
                                                                 Empirical       CASb       Boiling      at 20 °C   Weight      Ions
VOC (Alternative Name)a                                          Formula         Number     Point (°C)   (mm Hg)c   (g/mol)     Monitored
4-Methyl-2-pentanone (methyl isobutyl ketone, MIBK)              C6H12O          108-10-1   116.5        16         100.2       43/58
1,1,1,2-Tetrachloroethane                                        C2H2Cl4         630-20-6   130.5        14         167.8       133/131
Tetrachloroethene (perchloroethylene)                            C2Cl4           127-18-4   121.3        14         165.8       166/164
1,2-Dibromoethane (ethylene dibromide)                           C2H4Br2         106-93-4   131.0        11         187.9       107/109
Chlorobenzene                                                    C6H5Cl          108-90-7   131.6        9          112.6       112/77
m-Xylene (1,3-xylene)                                            C8H10           108-38-3   139.1        9          106.2       91/106
p-Xylene (1,4-xylene)                                            C8H10           106-42-3   138.3        9          106.2       91/106
Isopropylbenzene (cumene)                                        C9H12           98-82-8    152.4        8          120.2       105/120
Ethylbenzene                                                     C8H10           100-41-4   136.2        7          106.2       91/106
o-Xylene (1,2-xylene)                                            C8H10           95-47-6    144.5        7          106.2       91/106
Dibromochloromethane (chlorodibromomethane)                      CHBr2Cl         124-48-1   122.0        6          208.3       129/127
Styrene (vinylbenzene)                                           C8H8            100-42-5   145.3        5          104.2       104/103
1,1,2,2-Tetrachloroethane (tetrachloroethane)                    C2H2Cl4         79-34-5    146.0        5          167.9       83/85
Tribromomethane (bromoform)                                      CHBr3           75-25-2    149.5        5          252.8       173/171
2-Chlorotoluene (1-chloro-2-methylbenzene)                       C7H7Cl          95-49-8    159.2        3          126.6       91/126
4-Ethyltoluene (1-ethyl-4-methylbenzene)                         C9H12           622-96-8   162.0        3d         120.2       105/120
n-Propylbenzene                                                  C9H12           103-65-1   159.2        3          120.2       91/120
sec-Butylbenzene (2-phenylbutane)                                C10H14          135-98-8   173.5        2          134.2       105/134
tert-Butylbenzene                                                C10H14          98-06-6    169.1        2          134.2       119/91
m-Dichlorobenzene (1,3-dichlorobenzene)                          C6H4Cl2         541-73-1   173.0        2          147.0       146/148
Hexachlorobutadiene (hexachloro-1,3-butadiene)                   C4Cl6           87-68-3    215.0        2          260.8       225/227
2-Hexanone (methyl butyl ketone, MBK)                            C6H12O          591-78-6   127.2        2          100.2       43/58
2-Isopropyltoluene (o-cymene)                                    C10H14          527-84-4   178.0        2          134.2       119/134
1,2,4-Trimethylbenzene (pseudocumene)                            C9H12           95-63-6    169.0        2          120.2       105/120
1,3,5-Trimethylbenzene (mesitylene)                              C9H12           108-67-8   165.0        2          120.2       105/120
n-Butylbenzene                                                   C10H14          104-51-8   183.3        1          134.2       91/92
Chloromethylbenzene (benzyl chloride)                            C7H7Cl          100-44-7   179.0        1          126.6       91/92
o-Dichlorobenzene (1,2-dichlorobenzene)                          C6H4Cl2         95-50-1    180.1        1          147.0       146/148
p-Dichlorobenzene (1,4-dichlorobenzene)                          C6H4Cl2         106-46-7   174.0        1          147.0       146/148
1,2,4-Trichlorobenzene                                           C6H3Cl3         120-82-1   213.0        1          181.4       180/182
Naphthalene (naphthene)                                          C10H8           91-20-3    218.0        0.1        128.2       128/127
a
 Compound information is derived from PubChem (https://pubchem.ncbi.nlm.nih.gov/), an open chemistry database from the National Institutes
of Health, U.S. National Library of Medicine, National Center for Biotechnology Information.
b
    Chemical Abstracts Service.
c
    Vapor pressures shown in bold italics are values at 25 °C.
d
    ThermoFisher Scientific, 4-Ethyltoluene Safety Data Sheet, Revised January 26, 2018.




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